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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )      Case No. 1:08CR00024-002
                                               )
v.                                             )             OPINION
                                               )
BRYANT KELLY PRIDE,                            )      By: James P. Jones
                                               )      United States District Judge
                 Defendant.                    )


       Bryant Kelly Pride, Pro Se Defendant.

       Defendant Bryant Kelly Pride has filed a pleading under Rule 60(b)(4) of the

Federal Rules of Civil Procedure in which he seeks to open his previously filed

Motion to Vacate, Set Aside, or Correct Sentence, pursuant to 28 U.S.C. § 2255. I

find no merit to Pride’s arguments for relief under Rule 60(b), construe Pride’s

pleading as a § 2255 motion, and summarily dismiss it as successive, pursuant to

28 U.S.C. § 2255(h).

       Pride claims in his current motion that enhancement of his sentence based on

certain prior convictions constituted error under United States v. Simmons, 649

F.3d 237 (4th Cir. 2011) (en banc), and he is entitled to be resentenced.

Specifically, Pride claims that, under Rule 60(b), he is entitled to relief from the

Judgment denying relief on his prior § 2255 claims because it relied on United
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States v. Harp, 406 F.3d 242 (4th Cir. 2005), a decision that was overruled in

Simmons.

      This argument does not support a motion under Rule 60(b). I decided

Pride’s initial § 2255 claims in February of 2011, and denied relief based on his

Plea Agreement waiver of his right to collateral relief. See United States v. Pride,

No. 1:08CR00024, 2011 WL 610969 (W.D. Va. Feb. 11, 2011), appeal dismissed,

430 F. App’x 238 (4th Cir. 2011) (unpublished). The United States Court of

Appeals for the Fourth Circuit decided Simmons in August of 2011. A change in

decisional law subsequent to a final judgment provides no basis for relief from that

judgment under Rule 60(b). Gonzalez v. Crosby, 545 U.S. 524, 536-38 (2005).

Therefore, I must deny Pride’s motion under Rule 60(b).

      When a criminal defendant files a motion bringing a claim that he is entitled

to relief from the criminal judgment in some respect, regardless of the title the

defendant places on the motion, the court should construe it as a habeas action. Id.

at 530-32. Pride seeks to correct his criminal sentence based on an assertion that it

was invalid as imposed. Therefore, I find that his submission is properly construed

as a § 2255 motion.

      This court may consider a second or successive § 2255 motion only upon

specific certification from the United States Court of Appeals for the Fourth

Circuit that the claims in the motion meet certain criteria. See § 2255(h). Because


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Pride previously challenged this conviction and sentence under § 2255 and offers

no indication that he has obtained certification from the court of appeals to file a

second or successive § 2255 motion, I must dismiss his current action without

prejudice as successive.

      A separate Order will be entered herewith.

                                              ENTER: October 23, 2013

                                              /s/ James P. Jones
                                              United States District Judge




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